           Case 1:14-cv-13091-IT Document 14 Filed 06/09/15 Page 1 of 1



                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

OLYMPUS IMAGING AMERICA, INC.,                  *
                                                *
                                                *
       Plaintiff,                               *
                                                *
               v.                               *             Civil Action No. 14-cv-13091-IT
                                                *
F&E TRADING, LLC.,                              *
                                                *
       Defendant.                               *

                                              ORDER

                                            June 9, 2015

TALWANI, D.J.

       On April 21, 2015, after being notified by Plaintiff that the above-entitled action had

settled, the court ordered the action dismissed, without prejudice to the right of any party to

reopen the action within forty-five (45) days if settlement was not consummated. Before the

court is Plaintiff’s Motion to Reopen the Case [#13], filed on the forty-fifth day after dismissal,

in which Plaintiff moves the court to reopen this case to allow it to proceed through the normal

course of litigation. Plaintiff does not assert that the settlement was not consummated, but

claims that Defendant has continued to infringe Plaintiff’s trademarks and has violated the terms

of the settlement agreement. In light of the failure of any settlement to have resolved the dispute

between the parties, the motion is ALLOWED. Plaintiff is directed to serve this Order on

Defendant and file a certificate of service with the court. Defendant shall file a responsive

pleading to the Complaint [#1] no later than 21 days from the date of service of this order.

       IT IS SO ORDERED.

                                                                        /s/ Indira Talwani
                                                                        United States District Judge
